        Case 1:12-cv-01227-LH-LFG Document 28 Filed 07/24/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO




SUSAN MARTINEZ and
RICKIE MARTINEZ,

               Plaintiffs,

v.                                                             CIV No. 12-1227 LH/LFG

ENHANCED RECOVERY COMPANY,
LLC,

               Defendant.

                                       FINAL JUDGMENT

       In accordance with FED.R.CIV.P. 58(a), and consistent with the Notice of Settlement (Docket

No. 25) and Stipulation of Dismissal with Prejudice (Docket No. 27), wherein the parties indicated

that a full and final settlement in this matter has been reached, and that Plaintiffs dismiss all claims

in this matter against Defendant, pursuant to FED.R.CIV.P. 41(a)(1),

       IT IS ORDERED that this matter is DISMISSED WITH PREJUDICE.



                                               __________________________________________
                                               SENIOR UNITED STATES DISTRICT JUDGE
